        Case 05-39803-DOT                             Doc 19 Filed 02/28/06 Entered 02/28/06 16:20:00                           Desc Main
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                                                      UNITED STATES BANKRUPTCY COURT
                                                        EASTERN DISTRICT OF VIRGINIA

                                                                       CHAPTER 13 PLAN
                                                                     AND RELATED MOTIONS
                                      Gerald L. McTague
Name of Debtor(s):                    Lena A McTague                                                      Case No:   05-39803


This plan, dated            February 22, 2006               , is:

                             the first Chapter 13 plan filed in this case.
                             a modified plan, which replaces the plan dated October 21, 2005 .

The plan provisions modified by this filing are:
Increase total amount paid into plan; increase amount paid to unsecured creditors who have filed an allowed proof of claim
to 100%

Creditors affected by this modification are:
all creditors

NOTICE: YOUR RIGHTS WILL BE AFFECTED. You should read these papers carefully. If you
oppose any included motions to (i) value collateral, (ii) avoid liens, or (iii) assume or reject unexpired
leases or executory contracts, you MUST file a timely written objection.

This plan may be confirmed and become binding, and the included motions in paragraphs 3, 6, and 7 to
value collateral, avoid liens, and assume or reject unexpired leases or executory contracts may be granted,
without further notice or hearing unless written objection is filed on or before ten (10) days prior to the
confirmation hearing and the objecting party appears at the confirmation hearing set for
 April 5, 2006 @ 9:30 AM 1100 E Main St. Richmond, VA 23219.
The debtor(s)' schedules list assets and liabilities as follows:

          Total Assets: $184,941.80
          Total Non-Priority Unsecured Debt: $100,787.25
          Total Priority Debt: $0.00
          Total Secured Debt: $54,325.97




                                                                                                 Page 1

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1.         Funding of Plan. The debtor(s) propose to pay the trustee the sum of $259.00 Monthly for 16 months, then $63,500.00
           Monthly for 1 months. Other payments to the Trustee are as follows: NONE . The total amount to be paid into the
           plan is $ 67,644.00 .

2.         Priority Creditors. The Trustee shall pay allowed priority claims in full unless the creditor agrees otherwise.

           A.           Administrative Claims under 11 U.S.C. § 1326.

                        1.            The Trustee will be paid 10% of all sums disbursed except for funds returned to the debtor(s).
                        2.            Debtor(s)' attorney will be paid $ 0.00 balance due of the total fee of $ 1,500.00 concurrently
                                      with or prior to the payments to remaining creditors.

           B.           Claims under 11 U.S.C. §507.
                        The following priority creditors will be paid by deferred case payments pro rata with other priority creditors or in
                        monthly installments as below:

Creditor                                          Type of Priority                                                Estimated Claim          Payment and Term
-NONE-


3.         Secured Creditors and Motions to Value Collateral.

         This paragraph provides for claims of creditors who hold debts that (a) regardless of term, are being bifurcated into secured
and unsecured portions, (b) do not have a term longer than the length of this plan, or (c) are not secured solely by the debtor(s)'
principal residence.

           A.           Collateral to be retained. The following creditors shall retain their liens and be paid as indicated below.
                        Insurance will be maintained at the debtor(s)' expense, in accordance with the terms of the contract and security
                        agreement. The debtor(s) move to value the collateral as stated below. The Trustee shall pay allowed secured
                        claims the value stated from the date of confirmation until the secured claim is paid in full. The excess of the
                        creditor's claim over the stated value shall be treated as an unsecured claim. Upon completion of the plan, the
                        creditor shall release its lien and deliver any certificate of title to the debtor(s). Unless written objection to the
                        value below is timely filed with the Court, the Court may determine that the collateral is worth the value
                        stated. If a timely objection is filed, the value will be determined by the Court at the confirmation hearing.

                                       Collateral                                                    Collateral    Estimated   Interest            Monthly
Creditor                               Description                                                       Value         Claim     Rate     Payment and term*
-NONE-

*These secured claims will be paid by the Trustee either on a fixed monthly basis as stated or pro rata with other secured claims.

           B.           Collateral to be surrendered. Upon confirmation of the plan, or before, the debtor will surrender his or her
                        interest in the collateral securing the claims of the following creditors in satisfaction of the secured portion of such
                        creditors' allowed claims. To the extent that the collateral does not satisfy such creditor's claim, the creditor may
                        hold a non-priority, unsecured claim for a timely filed deficiency claim. The order confirming the plan shall have
                        the effect of terminating the automatic stay as to the collateral surrendered.

Creditor                                                         Collateral Description                                        Estimated Total Claim
-NONE-

4.         Unsecured Claims.

           A.           Not separately classified. Allowed non-priority unsecured claims shall be paid pro rata from any distribution
                        remaining after disbursement to allowed secured and priority claims. Estimated distribution is approximately
                           100 %. If this case were liquidated under Chapter 7, the debtor(s) estimate unsecured creditors would receive
                        a dividend of approximately 100 %.



                                                                                                  Page 2

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           B.           Separately classified unsecured claims.

Creditor                                                            Basis for Classification                                                      Treatment
-NONE-

5.         Long Term Debts and claims Secured by the Debtor(s)' Primary Residence.

           Creditors listed below are either secured by the debtor(s)' principal residence or hold a debt the term of which extends
           beyond the term of this plan.

           A.           Debtor(s) to pay claim directly. The creditors listed below will be paid by the debtor(s) pursuant to the contract
                        without modification, except that arrearages, if any, will be paid by the Trustee either pro rata with other secured
                        claims or on a fixed monthly basis as indicated below.

                                                                                                      Regular                                             Monthly
                                                                                                     Contract   Estimated    Interest    Estimated       Arrearage
Creditor                                Collateral                                                   Payment    Arrearage      Rate     Cure Period       Payment
Orange Lake Resort &                    WK 11 Unit 6315                                                195.13         0.00     0%       0 months
                                        Orange Lake Resort & Country
                                        Club
                                        Kissimmee, FL 34747
Wells Fargo                             9525 Post Lane                                                 528.00         0.00     0%       0 months
                                        Spotsylvania, VA 22553

           B.           Trustee to pay the contract payments and the arrearages. The creditors listed below will be paid by the Trustee
                        the regular contract monthly payments during the term of this plan. The arrearage claims, if any, will be cured by
                        the Trustee by payments made either pro rata with other secured claims or by fixed monthly payments as indicated
                        below.

                                                                                                      Regular                                             Monthly
                                                                                                     Contract   Estimated Interest      Term for         Arrearage
Creditor                                Collateral                                                   Payment    Arrearage Rate          Arrearage         Payment
-NONE-

6.         Executory Contracts and Unexpired Leases. The debtor(s) move for assumption or rejection of the executory contracts
           and leases listed below.

           A.           Executory contracts and unexpired leases to be rejected. The debtor(s) reject the following executory contracts.

Creditor                                                     Type of Contract
-NONE-

           B.           Executory contracts and unexpired leases to be assumed. The debtor(s) assume the following executory
                        contracts. The debtor agrees to abide by all terms of the agreement. The Trustee will pay the pre-petition
                        arrearages, if any, through payments made pro rata with other priority claims or on a fixed monthly basis as
                        indicated below.

                                                                                                                                     Monthly
                                                                                                                                    Arrearage          Estimated
Creditor                                     Type of Contract                                                   Arrearage            Payment          Cure Period
-NONE-




                                                                                                  Page 3

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7.          Motions to Avoid Liens.

            A.           The debtor(s) move to avoid liens pursuant to 11 U.S.C. § 522(f). The debtor(s) move to avoid the following
                         judicial liens and non-possessory, non-purchase money liens that impair the debtor(s)' exemptions. Unless a
                         written objection is timely filed with the Court, the Court may grant the debtor(s)' motion and cancel the
                         creditor's lien. If an objection is filed, the Court will hear evidence and rule on the motion at the confirmation
                         hearing.

Creditor                                      Collateral                                            Exemption Basis and Amount                Value of Collateral
-NONE-

            B.           Avoidance of security interests or liens on grounds other than 11 U.S.C. § 522(f). The debtor(s) have filed or
                         will file and serve separate pleadings to avoid the following liens or security interests. The creditor should review
                         the notice or summons accompanying such pleadings as to the requirements for opposing such relief. The listing
                         here is for informational purposes only.

Creditor                                        Type of Lien                          Description of Collateral                     Basis for Avoidance
-NONE-

8.          Treatment of Claims.

            •            All creditors must timely file a proof of claim to receive payment from the Trustee.
            •            If a claim is scheduled as unsecured and the creditor files a claim alleging the claim is secured but does not timely
                         object to confirmation of the plan, the creditor may be treated as unsecured for purposes of distribution under the
                         plan. This paragraph does not limit the right of the creditor to enforce its lien, to the extent not avoided or
                         provided for in this case, after the debtor(s) receive a discharge.
            •            If a claim is listed in the plan as secured and the creditor files a proof of claim alleging the claim is unsecured, the
                         creditor will be treated as unsecured for purposes of distribution under the plan.

9.          Vesting of Property of the Estate. Property of the estate shall revest in the debtor(s) upon confirmation of the plan.
            Notwithstanding such vesting, the debtor(s) may not sell, refinance, or encumber real property without approval of the
            court.

10.         Incurrence of indebtedness. During the term of the plan, the debtor(s) shall not incur additional indebtedness in an
            amount exceeding $5,000 without approval of the court.

11.         Other provisions of this plan:
            The Trustee may extend the number of monthly payments and thus increase the total amount paid into this plan so
            that unsecured creditors who have filed a proof of claim are paid 100% of their allowed claims.


Signatures:


Dated:           2/28/06


/s/ Gerald L. McTague                                                                                          /s/ Walter Ragland
Gerald L. McTague                                                                                              Walter Ragland 22654
Debtor                                                                                                         Debtor's Attorney

/s/ Lena A. McTague
Lena A McTague
Joint Debtor

Exhibits:                Copy of Debtor(s)' Budget (Schedules I and J);
                         Matrix of Parties Served with plan



                                                                                                   Page 4

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                                                                                Certificate of Service

         I certify that on            February 28, 2006               , I mailed a copy of the foregoing to the creditors and parties in interest on the
attached Service List.


                                                                /s/ Walter Ragland
                                                                Walter Ragland 22654
                                                                Signature

                                                                P.O. Box 675
                                                                Thornburg, VA 22565
                                                                Address

                                                                540-370-4800
                                                                Telephone No.




                                                                                                 Page 5

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                                              United States Bankruptcy Court
                                                    Eastern District of Virginia
         Gerald L. McTague
 In re   Lena A McTague                                                                        Case No.   05-39803
                                                                  Debtor(s)                    Chapter    13



                                     SPECIAL NOTICE TO SECURED CREDITOR

         Orange Lake Resort &
         Country Club
         P.O. Box 850001
To:      Orlando, FL 32885
         Name of creditor

         WK 11 Unit 6315
         Orange Lake Resort & Country Club
         Kissimmee, FL 34747
         Description of collateral


1.       The attached chapter 13 plan filed by the debtor(s) proposes (check one):

                  To value your collateral. See Section 3 of the plan. Your lien will be limited to the value of the collateral, and
                  any amount you are owed above the value of the collateral will be treated as an unsecured claim.

                  To cancel or reduce a judgment lien or a non-purchase money, non-possessory security interest you hold. See
                  Section 7 of the plan. All or a portion of the amount you are owed will be treated as an unsecured claim.

2.       You should read the attached plan carefully for the details of how your claim is treated. The plan may be confirmed, and
the proposed relief granted, unless you file and serve a written objection by the date specified and appear at the confirmation hearing.
A copy of the objection must be served on the debtor(s), their attorney, and the chapter 13 trustee.

          Date objection due:                                                        Ten days prior to confirmation
          Date and time of confirmation hearing:                                            April 5, 2006 @ 9:30 AM
          Place of confirmation hearing:                                       1100 E Main St. Richmond, VA 23219

                                                                         Gerald L. McTague
                                                                         Lena A McTague
                                                                         Name(s) of debtor(s)

                                                                  By:    /s/ Walter Ragland
                                                                         Walter Ragland 22654
                                                                         Signature

                                                                              Debtor(s)' Attorney
                                                                              Pro se debtor

                                                                         Walter Ragland 22654
                                                                         Name of attorney for debtor(s)
                                                                         P.O. Box 675
                                                                         Thornburg, VA 22565
                                                                         Address of attorney [or pro se debtor]

                                                                         Tel. #     540-370-4800
                                                                         Fax #      540-370-4903
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                                                       CERTIFICATE OF SERVICE
I hereby certify that true copies of the foregoing Notice and attached Chapter 13 Plan and Related Motions were served upon the
creditor noted above by

                  first class mail in conformity with the requirements of Rule 7004(b), Fed.R.Bankr.P; or

                  certified mail in conformity with the requirements of Rule 7004(h), Fed.R.Bankr.P

on this         February 28, 2006   .


                                                                             /s/ Walter Ragland
                                                                             Walter Ragland 22654
                                                                             Signature of attorney for debtor(s)


Ver. 06/17/05
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                                              United States Bankruptcy Court
                                                    Eastern District of Virginia
         Gerald L. McTague
 In re   Lena A McTague                                                                        Case No.   05-39803
                                                                  Debtor(s)                    Chapter    13



                                     SPECIAL NOTICE TO SECURED CREDITOR

         Wells Fargo
         P.O. Box 17339
To:      Baltimore, MD 21297
         Name of creditor

         9525 Post Lane
         Spotsylvania, VA 22553
         Description of collateral


1.       The attached chapter 13 plan filed by the debtor(s) proposes (check one):

                  To value your collateral. See Section 3 of the plan. Your lien will be limited to the value of the collateral, and
                  any amount you are owed above the value of the collateral will be treated as an unsecured claim.

                  To cancel or reduce a judgment lien or a non-purchase money, non-possessory security interest you hold. See
                  Section 7 of the plan. All or a portion of the amount you are owed will be treated as an unsecured claim.

2.       You should read the attached plan carefully for the details of how your claim is treated. The plan may be confirmed, and
the proposed relief granted, unless you file and serve a written objection by the date specified and appear at the confirmation hearing.
A copy of the objection must be served on the debtor(s), their attorney, and the chapter 13 trustee.

          Date objection due:                                                        Ten days prior to confirmation
          Date and time of confirmation hearing:                                            April 5, 2006 @ 9:30 AM
          Place of confirmation hearing:                                       1100 E Main St. Richmond, VA 23219

                                                                         Gerald L. McTague
                                                                         Lena A McTague
                                                                         Name(s) of debtor(s)

                                                                  By:    /s/ Walter Ragland
                                                                         Walter Ragland 22654
                                                                         Signature

                                                                              Debtor(s)' Attorney
                                                                              Pro se debtor

                                                                         Walter Ragland 22654
                                                                         Name of attorney for debtor(s)
                                                                         P.O. Box 675
                                                                         Thornburg, VA 22565
                                                                         Address of attorney [or pro se debtor]

                                                                         Tel. #     540-370-4800
                                                                         Fax #      540-370-4903
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                                                       CERTIFICATE OF SERVICE
I hereby certify that true copies of the foregoing Notice and attached Chapter 13 Plan and Related Motions were served upon the
creditor noted above by

                  first class mail in conformity with the requirements of Rule 7004(b), Fed.R.Bankr.P; or

                  certified mail in conformity with the requirements of Rule 7004(h), Fed.R.Bankr.P

on this         February 28, 2006   .


                                                                             /s/ Walter Ragland
                                                                             Walter Ragland 22654
                                                                             Signature of attorney for debtor(s)


Ver. 06/17/05
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Form B6I
(12/03)


           Gerald L. McTague
 In re     Lena A McTague                                                                   Case No.    05-39803
                                                                 Debtor(s)


                 SCHEDULE I. CURRENT INCOME OF INDIVIDUAL DEBTOR(S) - AMENDED
The column labeled "Spouse" must be completed in all cases filed by joint debtors and by a married debtor in a chapter 12 or 13 case
whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.
Debtor's Marital Status:                                         DEPENDENTS OF DEBTOR AND SPOUSE
                                       RELATIONSHIP                                            AGE
                                              None.
       Married


 EMPLOYMENT                                            DEBTOR                                          SPOUSE
 Occupation                        field services contractor                        underwriting clerk
 Name of Employer                  JMC Enterprises                                  Geico Insurance
 How long employed                 10 yrs                                           8 yrs
 Address of Employer               P.O. Box 35                                      1 Geico Blvd.
                                   9525 Post Lane                                   Fredericksburg, VA 22407
                                   Spotsylvania, VA 22553
 INCOME: (Estimate of average monthly income)                                                    DEBTOR                 SPOUSE
 Current monthly gross wages, salary, and commissions (pro rate if not paid monthly)         $         154.25      $       2,129.17
 Estimated monthly overtime                                                                  $           0.00      $           0.00

 SUBTOTAL                                                                                    $         154.25      $       2,129.17

       LESS PAYROLL DEDUCTIONS
       a. Payroll taxes and social security                                                  $           0.00      $         408.48
       b. Insurance                                                                          $           0.00      $         153.30
       c. Union dues                                                                         $           0.00      $           0.00
       d. Other (Specify)                                                                    $           0.00      $           0.00
                                                                                             $           0.00      $           0.00

       SUBTOTAL OF PAYROLL DEDUCTIONS                                                        $           0.00      $         561.78

 TOTAL NET MONTHLY TAKE HOME PAY                                                             $         154.25      $       1,567.39

 Regular income from operation of business or profession or farm (attach detailed                        0.00                  0.00
                                                                                             $                     $
 statement)
 Income from real property                                                                   $           0.00      $           0.00
 Interest and dividends                                                                      $          10.00      $           0.00
 Alimony, maintenance or support payments payable to the debtor for the debtor's use or
 that of dependents listed above                                                             $           0.00      $           0.00
 Social security or other government assistance
 (Specify)          SSI                                                                      $         750.00      $           0.00
                                                                                             $           0.00      $           0.00
 Pension or retirement income                                                                $           0.00      $           0.00
 Other monthly income
 (Specify)                                                                                   $           0.00      $           0.00
                                                                                             $           0.00      $           0.00


 TOTAL MONTHLY INCOME                                                                        $         914.25      $       1,567.39

                                                                             2,481.64
                                                                                                  (Report also on Summary of
                                                           $
 TOTAL COMBINED MONTHLY INCOME                                                                            Schedules)
Describe any increase or decrease of more than 10% in any of the above categories anticipated to occur within the year following the
filing of this document:
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         Gerald L. McTague
 In re   Lena A McTague                                                                     Case No.   05-39803
                                                                 Debtor(s)


         SCHEDULE J. CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S) -
                                 AMENDED
   Complete this schedule by estimating the average monthly expenses of the debtor and the debtor's family. Pro rate any payments
made bi-weekly, quarterly, semi-annually, or annually to show monthly rate.

o Check this box if a joint petition is filed and debtor's spouse maintains a separate household. Complete a separate schedule of
expenditures labeled "Spouse."
Rent or home mortgage payment (include lot rented for mobile home)                                       $                  594.80
Are real estate taxes included?                                Yes X            No
Is property insurance included?                                Yes X            No
Utilities:         Electricity and heating fuel                                                          $                  200.00
                   Water and sewer                                                                       $                   20.00
                   Telephone                                                                             $                    0.00
                   Other      Adelphia cable                                                             $                   45.00
Home maintenance (repairs and upkeep)                                                                    $                   75.00
Food                                                                                                     $                  300.00
Clothing                                                                                                 $                   20.00
Laundry and dry cleaning                                                                                 $                   20.00
Medical and dental expenses                                                                              $                   50.00
Transportation (not including car payments)                                                              $                  150.00
Recreation, clubs and entertainment, newspapers, magazines, etc.                                         $                   15.00
Charitable contributions                                                                                 $                  120.00
Insurance (not deducted from wages or included in home mortgage payments)
                   Homeowner's or renter's                                                               $                    0.00
                   Life                                                                                  $                    0.00
                   Health                                                                                $                    0.00
                   Auto                                                                                  $                   83.00
                   Other                                                                                 $                    0.00
Taxes (not deducted from wages or included in home mortgage payments)
                 (Specify) sales tax                                                                     $                   34.33
Installment payments: (In chapter 12 and 13 cases, do not list payments to be included in the plan.)
                   Auto                                                                                  $                    0.00
                   Other      Orange Lake Resort & Country Club T/S                                      $                  195.13
                   Other                                                                                 $                    0.00
                   Other                                                                                 $                    0.00
Alimony, maintenance, and support paid to others                                                         $                    0.00
Payments for support of additional dependents not living at your home                                    $                    0.00
Regular expenses from operation of business, profession, or farm (attach detailed statement)             $                    0.00
Other      Petro                                                                                         $                  200.00
Other      emergency fund                                                                                $                  100.00

TOTAL MONTHLY EXPENSES (Report also on Summary of Schedules)                                             $                2,222.26

[FOR CHAPTER 12 AND 13 DEBTORS ONLY]
Provide the information requested below, including whether plan payments are to be made bi-weekly, monthly, annually, or at some
other regular interval.
A.   Total projected monthly income                                                                      $                2,481.64
B.   Total projected monthly expenses                                                                    $                2,222.26
C.   Excess income (A minus B)                                                                           $                  259.38
D.   Total amount to be paid into plan each              Monthly                                         $                  259.00
                                                             (interval)
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                        A T & T Universal
                        P.O. Box 1830602
                        Columbus, OH 43218


                        Advanta Bank Corp.
                        P.O. Box 8088
                        Philadelphia, PA 19101


                        Bank of America
                        P.O. Box 1758
                        Newark, NJ 07101


                        Chevy Chase Bank
                        P.O. Box 15153
                        Wilmington, DE 19886


                        Citi
                        Citi Cards
                        P.O. Box 183056
                        Columbus, OH 43218


                        Citi
                        Box 6500
                        Sioux Falls, SD 57117


                        Dept of Treasurers
                        Financial Management
                        P.O. Box 1686
                        Birmingham, AL 35201


                        Dept of Veteran Affairs
                        HH McGuire VA Med Center
                        P.O. Box 530269
                        Atlanta, GA 30353


                        Discover
                        P.O. Box 15251
                        Wilmington, DE 19886


                        Fredericksburg Emergency Med
                        P.O. Box 808
                        Grand Rapids, MI 49518
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                    Fredericksburg Family Chiropra
                    10411 Courthouse Rd. Ste B
                    Spotsylvania, VA 22553


                    Kaua'i Medical Clinic
                    3 3420 Kuhio Hwy Ste B
                    Lihue, HI 96766


                    Orange Lake Resort &
                    Country Club
                    P.O. Box 850001
                    Orlando, FL 32885


                    Sallie Mae
                    P.O. Box 9500
                    Wilkes Barre, PA 18773


                    The Center for Orthopedics Inc
                    MSI Collections, Inc.
                    P.O. Box 7667
                    Fredericksburg, VA 22404


                    U.S. Trustee
                    600 East Main St. #301
                    Richmond, VA 23219


                    University of VA Health System
                    P.O. Box 800750
                    Charlottesville, VA 22908


                    Visa Sony Card
                    P.O. Box 15153
                    Wilmington, DE 19886


                    Wells Fargo
                    P.O. Box 17339
                    Baltimore, MD 21297


                    World Net Services
                    9543 South 700 East, Ste 200
                    Sandy, UT 84070


                    WWRC
                    P.O. Box 1500
                    Fishersville, VA 22939
